Case 22-60072-rlj7      Doc 39     Filed 07/24/23 Entered 07/24/23 09:07:24           Desc Main
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Roddrick Newhouse, Trustee
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              SAN ANGELO DIVISION

IN RE:                                        §
                                              §
ROTO, INC.,                                   §              CASE NO. 22-60072-RLJ7
                                              §
       Debtor.                                §              Chapter 7
                                              §

                     NOTICE OF DEFERRAL OF FILING FEE ON
                   MOTION TO RE-OPEN CHAPTER 7 PROCEEDING

       I, Roddrick Newhouse, trustee, certify that the filing fee in the amount of $260.00 in the

above captioned case should be deferred until assets are received in the estate.


                                              Respectfully submitted,

                                              /s/ Roddrick Newhouse
                                              Roddrick Newhouse
                                              CHAPTER 7 TRUSTEE
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TO RE-OPEN CHAPTER 7 PROCEEDING - Page Solo
